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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

PHILIP HANSTEN,

               Plaintiff,

       v.                                                   Civil Action No. 21-2043 (RC)

DRUG ENFORCEMENT ADMINISTRATION,

               Defendant.



     PLAINTIFF’S COUNTER-STATEMENT OF DISPUTED MATERIAL FACTS

       Pursuant to Local Civil Rule 7(h), Plaintiff, Professor Philip Hansten (“Professor

Hansten”), through counsel, submits this counter-statement of disputed material facts:


 1.    By letter dated March 10, 2021, Plaintiff       1. Admitted.
 submitted a FOIA request for “[r]ecords
 sufficient to show the names, addresses, and
 business activities of all parties that were
 issued DEA Form 222s in which the “Date
 Issued” on the form is 05/11/2011 (May 11,
 2011).”

 Compl. ¶¶ 1, 8;
 Plaintiff’s March 10, 2021 letter;
 Declaration of Angela D. Hertel (“Hertel
 Decl.”) ¶ 6

 2.   DEA acknowledged receipt of the                  2. Admitted that DEA assigned the FOIA
 request and assigned it case number 21-                  request case number 21-00286-F.
 00286-F.                                                 Denied to the extent that DEA implies
                                                          that the April 7, 2021 email was an
                                                          acknowledgement letter. The April 7,
                                                          2021 email was a courtesy reply which
                                                          specifically stated that it did “not replace
                                                          [an] acknowledgement letter[.]”

 Compl. ¶¶ 10-12;                                   Declaration of Professor Philip Hansten
 Hertel Decl. ¶ 7;                                 (“Hansten Decl.”) ¶ 12 and at Ex. D.
 DEA’s April 7, 2021 e-mail.



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3.    By a letter dated August 27, 2021,               3. Admitted.
DEA informed Plaintiff that any records
responsive to Plaintiff’s request were
categorically exempt from disclosure
pursuant to 5 U.S.C. § 552(b)(7)(E) and were
being withheld in full.

Hertel Decl. ¶ 9;
DEA’s August 27, 2021 letter.

4.    DEA’s August 27, 2021, letter also               4. Admitted.
explained that as any responsive records were
categorically exempt from disclosure,
pursuant to 5 U.S.C. § 552(b)(7)(E), DEA was
not required to conduct a search for the
requested record.

Hertel Decl. ¶ 9;
DEA’s August 27, 2021 letter.

5.   A DEA Form 222 is the U.S. Official               5. Admitted.
Order Form for Schedule I and II Controlled
Substances.

21C.F.R. Part 1305;
Hertel Decl. ¶ 10.

6.    The DEA Form 222, or its electronic              6. Admitted.
equivalent, allows a registrant to order and
transfer Schedule I and II controlled
substances, and is required for distribution of
all Schedule I or II controlled substances, with
limited exceptions.

21 C.F.R. § 1305.03;
21 U.S.C. § 828’
Hertel Decl. ¶ 10.

7.    Only persons who are registered with             7. Admitted.
DEA under section 303 of the Act to handle
Schedule I or II controlled substances may
obtain and use DEA Form 222, or issue
electronic orders for these substances.

21 C.F.R. 1305.04(a);
Hertel Decl. ¶ 10.




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8.     Each DEA Form 222 bears an order               8. Admitted.
form number and is issued with the name,
address, and registration number of the
registrant, the authorized activity, and
schedules of the registrant.

21 C.F.R. § 1305.11(c);
DEA Form 222.

9.    A person holding a registration                 9. Admitted.
authorizing the person to obtain a DEA Form
222 may requisition the forms through a DEA
secured network connection or by contacting
any Division Office or the DEA Registration
Section.

21 C.F.R. § 1305.11(b);
Hertel Decl. ¶ 10.

10. DEA’s investigative jurisdiction derives          10. Admitted.
from the Controlled Substances Act which
authorizes DEA to enforce the Act through
investigation of activity that would divert
controlled substances from legitimate
channels.

21 U.S.C. § 801 et seq.
Hertel Decl. ¶ 11.

11. Unlawful diversion of controlled                  11. Admitted.
substances may result in administrative action,
civil penalties, and criminal prosecution of
individuals and entities.

21 U.S.C. § 843(a)(1);
Hertel Decl. ¶ 11.

12. All Form 222s that are contained within           12. Denied. Professor Hansten has not
DEA’s files would have been compiled for law              requested the Forms 222 themselves, but
enforcement purposes.                                     rather information about entities who
                                                          were issued Forms 222 on a specific
Hertel Decl. ¶ 12.                                        date. DEA’s maintenance of Forms 222
                                                          and any tracking of registrants who are
                                                          issued Forms 222 relates to
                                                          “recordkeeping.”




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                                                 DEA Program Description, attached as Ex. 2 to
                                                 Professor Hansten’s Motion for Summary
                                                 Judgment
                                                 21 CFR § 1305.04
                                                 21 CFR § 1305.11(b)
13. The DEA Form 222s that are contained            13. Even if DEA Forms 222 are created and
in DEA’s files were created and maintained by           maintained by “law enforcement
law enforcement employees in the course of              employees in the course of their official
their official duties enforcing the Controlled          duties,” it is Denied that those actions
Substances Act.                                         are necessarily in connection with
                                                        enforcing the Controlled Substances
Hertel Decl. ¶ 12.                                      Act. In addition, Professor Hansten has
                                                        not requested the Forms 222 themselves,
                                                        but rather information about entities who
                                                        were issued Forms 222 on a specific
                                                        date. DEA’s maintenance of Forms 222
                                                        and any tracking of registrants who are
                                                        issued Forms 222 relates to
                                                        “recordkeeping.”

                                                 DEA Program Description, attached as Ex. 2 to
                                                 Professor Hansten’s Motion for Summary
                                                 Judgment
                                                 21 CFR § 1305.04
                                                 21 CFR § 1305.11(b)

14. The effectiveness of DEA’s mission is            14. Even if DEA’s mission, in general,
dependent to a large extent on the use of                depends on techniques not generally
sensitive collection techniques and methods              known to the general public, it is Denied
that are not known to the general public.                that records merely reflecting entities
                                                         issued Forms 222 on a particular day
Hertel Decl. ¶ 15.                                       involve sensitive collection techniques
                                                         and methods that are not known to the
                                                         general public. Form 222 techniques
                                                         and methods are publically known as
                                                         DEA’s website contains information
                                                         about the process and a link to an
                                                         accessible population database of active
                                                         registrants. Further, DEA has released
                                                         information related to Forms 222 in
                                                         response to FOIA requests in the past.

                                                 Ex. 4-6 to Professor Hansten’s Motion for
                                                 Summary Judgment
                                                 https://www.deadiversion.usdoj.gov/faq/form_2
                                                 22_faq.htm ;https://www.deadiversion.usdoj.go
                                                 v/drugreg/index.html and


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                                               https://apps2.deadiversion.usdoj.gov/RAPR/rap
                                               rRegistrantPopulationByStateAndBusinessActiv
                                               ity.xhtml#no-back-button
                                               DEA FOIA Logs, attached as Ex. 3 to Professor
                                               Hansten’s Motion for Summary Judgment
15. These law enforcement techniques and            15. Even if such general techniques and
procedures are critical tools used by DEA to            procedures are used by DEA, it is
efficiently and effectively carry out DEA’s             Denied that records merely reflecting
mission to regulate the distribution of                 entities issued Forms 222 on a particular
controlled substances for lawful uses.                  day involve sensitive collection
                                                        techniques and methods that are not
Hertel Decl. ¶ 15.                                      known to the general public. Form 222
                                                        techniques and methods are publically
                                                        known as DEA’s website contains
                                                        information about the process and a link
                                                        to an accessible population database of
                                                        active registrants. Further, DEA has
                                                        released information related to Forms
                                                        222 in the past.

                                               Ex. 4-6 to Professor Hansten’s Motion for
                                               Summary Judgment
                                               https://www.deadiversion.usdoj.gov/faq/form_2
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                                               v/drugreg/index.html and
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                                               rRegistrantPopulationByStateAndBusinessActiv
                                               ity.xhtml#no-back-button
                                               DEA FOIA Logs, attached as Ex. 3 to
                                               Professor Hansten’s Motion for Summary
                                               Judgment

16. The disclosure of these techniques and         16. Even if disclosures of DEA’s techniques
methods would seriously compromise DEA’s               and methods, in general, would
ability to perform its law enforcement                 compromise DEA’s ability to perform
mission.                                               its missions, it is Denied that records
                                                       merely reflecting entities issued Forms
Hertel Decl. ¶ 15.                                     222 on a particular day involve sensitive
                                                       collection techniques and methods that
                                                       are not known to the general public.
                                                       Form 222 techniques and methods are
                                                       publically known as DEA’s website
                                                       contains information about the process
                                                       and a link to an accessible population
                                                       database of active registrants. Further,




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                                                           DEA has released information related to
                                                           Forms 222 in the past.

                                                    Ex. 4-6 to Professor Hansten’s Motion for
                                                    Summary Judgment
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                                                    v/drugreg/index.html and
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                                                    rRegistrantPopulationByStateAndBusinessActiv
                                                    ity.xhtml#no-back-button
                                                    DEA FOIA Logs, attached as Ex. 3 to
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17. The disclosure of any information                   17. Denied. DEA’s declaration provides no
identifying the registrant and the registrant’s             basis for or specific examples of this
activity would reveal information collected in              assertion. Additionally, Form 222
furtherance of DEA’s diversion control                      techniques and methods are publically
enforcement and would provide information to                known as DEA’s website contains
individuals seeking to circumvent the law and               information about the process and a link
interfere with or target for harassment or theft,           to an accessible population database of
persons and businesses ordering and supplying               active registrants. Further, DEA has
controlled substances for lawful purposes.                  released information related to Forms
                                                            222 in the past.
Hertel Decl. ¶ 16.
                                                    Ex. 4-6 to Professor Hansten’s Motion for
                                                    Summary Judgment
                                                    https://www.deadiversion.usdoj.gov/faq/form_2
                                                    22_faq.htm ;https://www.deadiversion.usdoj.go
                                                    v/drugreg/index.html and
                                                    https://apps2.deadiversion.usdoj.gov/RAPR/rap
                                                    rRegistrantPopulationByStateAndBusinessActiv
                                                    ity.xhtml#no-back-button
                                                    DEA FOIA Logs, attached as Ex. 3 to
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18. Information identifying a provider of               18. Denied. DEA’s declaration provides no
controlled substances used in lethal injections             basis for or specific examples of any
would impair the government’s ability to                    such impairment. Additionally, the
obtain lethal injection substances in the future.           government’s ability to obtain drugs for
                                                            executions is unrelated to and irrelevant
Hertel Decl. ¶ 16.                                          to any analysis of whether Exemption
                                                            7(E) applies. In any event, Form 222
                                                            techniques and methods are publically
                                                            known as DEA’s website contains


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                                                        information about the process and a link
                                                        to an accessible population database of
                                                        active registrants. Further, DEA has
                                                        released information related to Forms
                                                        222 in the past.

                                                 Ex. 4-6 to Professor Hansten’s Motion for
                                                 Summary Judgment
                                                 https://www.deadiversion.usdoj.gov/faq/form_2
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                                                 rRegistrantPopulationByStateAndBusinessActiv
                                                 ity.xhtml#no-back-button
                                                 DEA FOIA Logs, attached as Ex. 3 to
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                                                 Judgment

19. The information collected from                   19. Denied. Most if not all information
registrants pursuant to DEA’s efforts to track           regarding registrants contained in the
the distribution of controlled substances for            data requested is publically known, if
particular transactions, including the                   not necessarily organized in the manner
registrant’s identity and their activity in              that would be provided in response to
controlled substances, is not generally known            the Request. In addition, whether such
to the public.                                           information about registrants is
                                                         publically known is not relevant to the
Hertel Decl. ¶ 16.                                       application of Exemption 7(E). Form
                                                         222 techniques and methods are
                                                         publically known as DEA’s website
                                                         contains information about the process
                                                         and a link to an accessible population
                                                         database of active registrants. Further,
                                                         DEA has released information related to
                                                         Forms 222 in response to FOIA requests
                                                         in the past.

                                                 Ex. 4-6 to Professor Hansten’s Motion for
                                                 Summary Judgment
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                                                 v/drugreg/index.html and
                                                 https://apps2.deadiversion.usdoj.gov/RAPR/rap
                                                 rRegistrantPopulationByStateAndBusinessActiv
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                                                  DEA FOIA Logs, attached as Ex. 3 to
                                                  Professor Hansten’s Motion for Summary
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20. By using discrete pieces of information           20. Denied. DEA’s declaration provides no
and applying a mosaic analysis, individuals               basis for or specific examples of such a
of the public looking to harass, intimidate, or           hypothesis; it is purely speculative.
target providers of controlled substances for             Additionally, Form 222 techniques and
particular purposes may interfere with the                methods are publically known as DEA’s
lawful distribution and use of controlled                 website contains information about the
substances.                                               process and a link to an accessible
                                                          population database of active registrants.
Hertel Decl. ¶ 16.                                        Further, DEA has released information
                                                          related to Forms 222 in response to
                                                          FOIA requests in the past.

                                                  Ex. 4-6 to Professor Hansten’s Motion for
                                                  Summary Judgment
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                                                  v/drugreg/index.html and
                                                  https://apps2.deadiversion.usdoj.gov/RAPR/rap
                                                  rRegistrantPopulationByStateAndBusinessActiv
                                                  ity.xhtml#no-back-button
                                                  DEA FOIA Logs, attached as Ex. 3 to
                                                  Professor Hansten’s Motion for Summary
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21. DEA collects information from                     21. Admitted that “DEA collects
registrants for each order and distribution of            information from registrants for each
controlled substances and maintains that                  order and distribution of controlled
information on DEA Form 222 for regulatory                substances and maintains that
and investigative use in DEA’s diversion                  information on DEA Form 222[.]” The
control efforts.                                          rest of the statement is Denied as this
                                                          information relates to “recordkeeping.”
Hertel Decl. ¶ 16.                                        In addition, Professor Hansten has not
                                                          requested information on Forms 222
                                                          themselves, but rather information about
                                                          entities who were issued Forms 222 on a
                                                          specific date.

                                                  DEA Program Description, attached as Ex. 2 to
                                                  Professor Hansten’s Motion for Summary
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                                                  21 CFR § 1305.04
                                                  21 CFR § 1305.11(b)



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22. Disclosing information from a DEA                   22. Denied. DEA provides no basis for or
Form 222, in whole or in part, to persons not               examples of this hypothesis. In
party to the transaction would potentially                  addition, Professor Hansten has not
interfere with lawful distribution and use of               requested information on Forms 222
controlled substances by subjecting suppliers               themselves, but rather simply a list of
and users to harassment, interference, theft, or            legally-authorized DEA registrants who
unwarranted scrutiny and would hamper                       were issued Forms 222 on a specific
DEA’s investigation of unlawful diversion on                date. Form 222 techniques and methods
the part of third parties having knowledge of               are publically known as DEA’s website
orders, distribution channels, and uses for                 contains information about the process
particular controlled substances.                           and a link to an accessible population
                                                            database of active registrants. Further,
Hertel Decl. ¶ 16.                                          DEA has released information related to
                                                            Forms 222 in response to FOIA requests
                                                            in the past.

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23. Any record responsive to Plaintiff’s                23. Admitted.
request would identify a provider of controlled
substances, the registrant’s address, locations at
which controlled substances are maintained,
and the type and potential uses for the
controlled substances distributed.

Hertel Decl. ¶ 17.

24. Any record responsive to Plaintiff’s                24. Denied. This statement is entirely
request would potentially reveal the identity of            speculative. Importantly, whether the
a provider of controlled substances used in                 controlled substances are used in lethal
lethal injections.                                          injections is not related to law
                                                            investigations or prosecutions and,
Hertel Decl. ¶ 17.                                          therefore, is irrelevant to the
                                                            applicability of Exemption 7(E).

25. The disclosure of the identity of a                 25. Denied. DEA fails to identify any basis
provider of controlled substances would impair              for or examples of such a hypothesis.


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the government’s ability to obtain lethal                The government’s ability to obtain drugs
injection substances in the future.                      for executions is not only irrelevant to
                                                         the applicability of Exemption 7(E) but
Hertel Decl. ¶ 17.                                       is more broadly not in any way related
                                                         to DEA’s investigatory and
                                                         prosecutorial roles and mission. Further,
                                                         Form 222 techniques and methods are
                                                         publically known as DEA’s website
                                                         contains information about the process
                                                         and a link to an accessible population
                                                         database of active registrants. DEA has
                                                         released information related to Forms
                                                         222 in response to FOIA requests in the
                                                         past.

                                                 Ex. 4-6 to Professor Hansten’s Motion for
                                                 Summary Judgment
                                                 https://www.deadiversion.usdoj.gov/faq/form_2
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                                                 rRegistrantPopulationByStateAndBusinessActiv
                                                 ity.xhtml#no-back-button
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26. This information is not customarily              26. Denied. DEA has provided no basis for
released to the public by the person from                or examples of such a hypothesis.
whom it was obtained because in DEA’s                    Professor Hansten has not requested
experience the source of the lethal injection            information obtained by DEA from
substances are commonly subject to                       others, but rather simply a list of legally-
harassment, threats, and negative publicity              authorized DEA registrants who were
leading to commercial decline when it is                 issued Forms 222 on a specific date. In
discovered that they are providing substances            addition, whether the person providing
to be used in implementing the death penalty.            information otherwise discloses that
                                                         information is irrelevant to whether the
Hertel Decl. ¶ 17.                                       disclosure of such information is
                                                         preventable under Exemption 7(E).
                                                         Moreover, Form 222 techniques and
                                                         methods are publically known as DEA’s
                                                         website contains information about the
                                                         process and a link to an accessible
                                                         population database of active registrants.
                                                         Further, DEA has released information
                                                         related to Forms 222 in response to
                                                         FOIA requests in the past.



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                                                   rRegistrantPopulationByStateAndBusinessActiv
                                                   ity.xhtml#no-back-button
                                                   DEA FOIA Logs, attached as Ex. 3 to Professor
                                                   Hansten’s Motion for Summary Judgment

27. Plaintiff has made known his interest in           27. Neither Admitted nor Denied, as this is
death penalty drugs and drug compounds in                  not a material fact. This assertion is
comments posted to the webpage of Death                    irrelevant to the applicability of
Penalty                Focus                at             Exemption 7(E).
https://deathpenalty.org/voicesphilip-hansten.

Hertel Decl. ¶ 18

28. Death Penalty Focus identifies itself as           28. Neither Admitted nor Denied, as this is
being founded by a group of California death               not a material fact. This assertion is
penalty opponents. These comments voice                    irrelevant to the applicability of
opposition both to the death penalty and to the            Exemption 7(E).
involvement of pharmacists in preparing
drugs for use in executions.

Hertel Decl. ¶ 18.

29. Releasing a list of locations where Schedule       29. Denied. DEA has provided no basis for
I and II controlled substances are maintained,             or specific examples of such targeting.
would lead to those locations being targeted by            Whether disclosure of the requested
criminals with the potential for diversion and             information would lead to the hypothesis
harm to physical safety.                                   provided is not relevant to the
                                                           applicability of Exemption 7(E).
Hertel Decl. ¶ 19.                                         Moreover, Form 222 techniques and
                                                           methods are publically known as DEA’s
                                                           website contains information about the
                                                           process and a link to an accessible
                                                           population database of active registrants.
                                                           Further, DEA has released information
                                                           related to Forms 222 in response to
                                                           FOIA requests in the past.

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                                     v/drugreg/index.html and
                                     https://apps2.deadiversion.usdoj.gov/RAPR/rap
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                                     ity.xhtml#no-back-button
                                     DEA FOIA Logs, attached as Ex. 3 to Professor
                                     Hansten’s Motion for Summary Judgment



Dated: November 29, 2021         Respectfully submitted,

                              By: /s/ Daniel C. Schwartz
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